               Case 3:24-bk-00496-BAJ               Doc 64       Filed 04/16/24   Page 1 of 1




                                              ORDERED.
 Dated: April 16, 2024




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION
                                        www.flmb.uscourts.gov

 In re:

 Genie Investments NV LLC,                                           Case No.: 3:24-bk-00496-BAJ
                                                                     Chapter 7

               Debtor.                                      /

                      ORDER GRANTING UNITED STATES TRUSTEE’S
                    ORE TENUS MOTION TO EXTEND CLAIMS BAR DATE

          THIS CASE came before the Court for hearing, on April 10, 2024, on the United States

Trustee’s Ore Tenus Motion to Extend Claims Bar Date (Doc. No 55), which was not opposed by

the Debtor. By agreement of the parties, and for the additional reasons stated in Open Court, it is

    ORDERED:

          1. The claims bar date is extended to July 1, 2024.

          2. Creditors who wish to file claims in this case are directed to the Court’s website at

https://pacer.flmb.uscourts.gov/cmecf/proofofclaim.htm. The Court’s website contains information

regarding the claims filing process and allows for electronic claims filing.

                                                       #   #    #

Copies to (Service by BNC): All creditors and parties in interest.
